                                                                                                    FILED IN THE
               Case 1:22-cr-02058-SAB              ECF No. 3         filed 05/10/22    PageID.4 Page     1 of 1
                                                                                                U.S. DISTRICT COURT
                                                                                                EASTERN DISTRICT OF WASHINGTON




                                               CHARGES AND PENALTIES                            May 10, 2022
                                                                                                     SEAN F. MCAVOY, CLERK


        CASE NAME: _______________________________
                   Alberto Pastrana                         1:22-CR-2058-SAB-1
                                                   CASE NO. ______________________

                                                     ✔
                                    1
                TOTAL # OF COUNTS: _______       _________FELONY     _________MISDEMEANOR   _________PETTY OFFENSE




Count            Statute                    Description of Offense                                  Penalty

                                                                            CAG not more than 10 years imprisonment; and/or
        18 U.S.C. §§ 922 (g)(1),
  1                                Felon in Possession of Firearms          $250,000 fine; 3 years supervised release; and
        924(a)(2)
                                                                            a $100 special penalty assessment



        21 U.S.C. § 853            Forfeiture Allegations
